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                                      UNITED STATES DISTRICT COURT
                                           DISTRICT OF MAINE


PERRY D. MORNEAU,                                           )
                                                            )
                    Plaintiff                               )
                                                            )
v.                                                          )                    Docket No. 06-53-P-C
                                                            )
JO ANNE B. BARNHART,                                        )
Commissioner of Social Security,                            )
                                                            )
                    Defendant                               )



                                REPORT AND RECOMMENDED DECISION1


          This Social Security Disability (“SSD”) appeal challenges the administrative law judge’s

failure to seek testimony from a vocational expert at the plaintiff’s second hearing, his failure to give

controlling weight to certain medical opinions and his identification of three specific jobs which he

concluded that the plaintiff could perform. I recommend that the decision of the commissioner be

affirmed.

          In accordance with the commissioner’s sequential evaluation process, 20 C.F.R. § 404.1520;

Goodermote v. Secretary of Health & Human Servs., 690 F.2d 5, 6 (1st Cir. 1982), the administrative

law judge found, in relevant part, that the plaintiff had acquired sufficient quarters of coverage to

remain insured only through December 31, 2003, Finding 1, Record at 21; that he suffered from

degenerative disc disease, an impairment that was severe but did not meet or equal the criteria of any


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  This action is properly brought under 42 U.S.C. § 405(g). The commissioner has admitted that the plaintiff has exhausted his
administrative remedies. The case is presented as a request for judicial review by this court pursuant to Local Rule 16.3(a)(2)(A),
which requires the plaintiff to file an itemized statement of the specific errors upon which he seeks reversal of the commissioner’s
decision and to complete and file a fact sheet available at the Clerk’s Office. Oral argument was held before me on December 1, 2006
(continued on next page)



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of the impairments listed in Appendix 1 to Subpart P, 20 C.F.R. Part 404 (the “Listings”), Finding 3,

id.; that his statements concerning his impairment and its impact on his ability to work were not

credible, Finding 4, id.; that he lacked the residual functional capacity to lift and carry more than 20

pounds occasionally, or more than 10 pounds on a regular basis, to stop, climb, crouch or crawl more

than occasionally or to use vibratory equipment, Finding 5, id. at 22; that he was unable to perform his

past relevant work as a landscaper and pipefitter, Finding 6, id.; that, given his age (44), education

(high school), skilled work experience (but no transferable skills) and residual functional capacity, the

plaintiff was able to make a successful vocational adjustment to work that existed in significant

numbers in the national economy on the date he was last insured, including employment as a sales

clerk, hotel clerk and case aide, Findings 8-11, id.; and that, therefore, the plaintiff was not under a

disability, as that term is defined in the Social Security Act, at any time through the date he was last

insured, Finding 12, id. The Appeals Council declined to review the decision, id. at 8-10, making it

the final determination of the commissioner, 20 C.F.R. § 404.981; Dupuis v. Secretary of Health &

Human Servs., 869 F.2d 622, 623 (1st Cir. 1989).

          The history of this claim is unusual in that the administrative law judge issued an initial

decision on the claim on September 29, 2003, Record at 132, after a hearing at which the plaintiff was

represented by his current counsel, id. at 126, and the Appeals Council vacated that decision and

remanded the case for further proceedings, id. at 134. The administrative law judge held two more

hearings at which the plaintiff was again represented by his current counsel. Id. at 75-119. A medical

expert was present and testified at the second of these hearings, id. at 95-118, and a vocational expert

was present but did not testify at both hearings. Id. at 77-84, 87-119.



pursuant to Local Rule 16.3(a)(2)(C) requiring the parties to set forth at oral argument their respective positions with citations to
relevant statutes, regulations, case authority and page references to the administrative record.



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       The standard of review of the commissioner’s decision is whether the determination made is

supported by substantial evidence. 42 U.S.C. §§ 405(g), 1383(c)(3); Manso-Pizarro v. Secretary of

Health & Human Servs., 76 F.3d 15, 16 (1st Cir. 1996). In other words, the determination must be

supported by such relevant evidence as a reasonable mind might accept as adequate to support the

conclusion drawn. Richardson v. Perales, 402 U.S. 389, 401 (1971); Rodriguez v. Secretary of

Health & Human Servs., 647 F.2d 218, 222 (1st Cir. 1981).

       The administrative law judge reached Step 5 of the sequential process, at which stage the

burden of proof shifts to the commissioner to show that a claimant can perform work other than her

past relevant work. 20 C.F.R. §§ 404.1520(f), 416.920(f); Bowen v. Yuckert, 482 U.S. 137, 146 n.5

(1987); Goodermote, 647 F.2d at 7. The record must contain positive evidence in support of the

commissioner’s findings regarding the plaintiff’s residual work capacity to perform such other work.

Rosado v. Secretary of Health & Human Servs., 807 F.2d 292, 294 (1st Cir. 1986).

                                              Discussion

       The plaintiff first contends that the administrative law judge committed reversible error by

relying on the testimony of a vocational expert presented at the first hearing rather than obtaining the

testimony of a vocational expert at the second or third hearings. Itemized Statement of Errors

(“Statement of Errors”) (Docket No. 6) at 2-3. He asserts that he “should have an opportunity to

cross-examine and/or rebut the testimony of a vocational expert based upon the record as a whole,

including all of the new evidence submitted at the time of this hearing.” Id. at 3. As counsel for the

plaintiff conceded at oral argument, the residual functional capacity assigned to the plaintiff by the

administrative law judge in his second, current opinion, Record at 22, is essentially the same as that

used by the administrative law judge in the hypothetical question posed to the vocational expert in the

first hearing, id. at 67, and it is that question which generated the testimony about available jobs on




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which the administrative law judge relied in the second opinion, id. at 21.2 The lawyer who

represents the plaintiff in this proceeding was present at the first hearing, id. at 29, where he did

cross-examine the vocational expert, id. at 73. That lawyer was also present at the second and third

hearings, id. at 75, 85, and has not offered any suggestion that he was prevented in any way from

questioning the vocational expert who was present at those hearings.

          The case law cited by the plaintiff on this point is easily distinguishable. In Yount v. Barnhart,

416 F.3d 1233 (10th Cir. 2005), the administrative law judge solicited a post-hearing medical report

and did not respond to the request of the claimant’s attorney for a supplemental hearing when he was

informed that this report was to be entered into the record, id. at 1234. The court held that the

administrative law judge failed to give the claimant’s lawyer a meaningful opportunity to address the

post-hearing evidence. Id. at 1236. In Townley v. Heckler, 748 F.2d 109 (2d Cir. 1984), the

administrative law judge “used a post-hearing vocational report as the primary evidence upon which

benefits were denied,” did not inform counsel for the claimant that he was seeking such a report until

after it was filed and denied counsel an opportunity to examine that report or to cross-examine the

expert, id. at 114. Here, the plaintiff’s lawyer had every opportunity to cross-examine the first

vocational expert about the testimony upon which the administrative law judge relied. He made no

attempt to question the second vocational expert. The plaintiff is not entitled to remand on the showing

made with respect to this issue. See Coffin v. Sullivan, 895 F.2d 1206, 1210-12 (8th Cir. 1990)

(claimant’s attorney who remains silent when opportunity to request cross-examination arises waives

right to cross-examination).



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  When asked at oral argument what specific evidence presented at the second (or third) hearing and generated between July 2004 and
February 2005 would necessarily have changed the hypothetical question posed to the vocational expert at the first hearing, counsel for
the plaintiff replied that this would be the fact that Dr. G. F. Guernelli continued to have the same opinions. Evidence that there was no
change in the medical evidence in the intervening period could not have necessitated a change in the hypothetical question.



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        The plaintiff’s second stated issue is an assertion that the administrative law judge was

required to give controlling weight to the opinions of G. F. Guernelli, M.D., a treating physician, but

failed to do so. Statement of Errors at 3-6. He cites Social Security Ruling 96-2p in support of this

claim. Id. at 4. That Ruling provides, in relevant part:

                     3. Controlling weight may not be given to a treating source’s medical
             opinion unless the opinion is well-supported by medically acceptable
             clinical and laboratory diagnostic techniques.

                     4. Even if a treating source’s medical opinion is well-supported,
             controlling weight may not be given to the opinion unless it also is “not
             inconsistent” with the other substantial evidence in the case record.
                                                      ***
                     6. If a treating source’s medical opinion is well-supported and not
             inconsistent with the other substantial evidence in the case record, it must be
             given controlling weight; i.e., it must be adopted.

Social Security Ruling 96-2p (“SSR 96-2p”), reprinted in West’s Social Security Reporting Service

Rulings (Supp. 2004), at 111. Dr. Guernelli was a treating medical source. Record at 431-34. The

plaintiff asserts that

             [t]here is no dispute that Dr. Guernelli’s opinion is not well support[ed] by
             these acceptable clinical and laboratory diagnostic techniques. The
             Administrative Law Judge did not take issue with this fact.

Statement of Errors at 4. To the contrary, as the next sentence of the statement of errors makes clear,

the administrative law judge “determined that the Residual Functional Capacity opinions by Dr.

Guernelli were not supported by objective medical findings and were inconsistent with other

substantial evidence in the case record.” Id. The administrative law judge went on to say the

following:

             Dr. Guernelli’s assessments of the claimant’s limitations are not supported
             by his own records, or by those of Dr. Regan and other treating sources. As
             indicated above, radiological studies have not yielded evidence of more than
             mild spinal pathology, and physical examination results have generally been
             within normal limits. Treating source Jennifer Winslow, N.P., examined the
             claimant in November, 2004 and found that he had a normal gait, normal



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             strength except for “slight” weakness of knee and hip extension, and negative
             straight leg raises (Exhibit 29F). Consistent positive clinical findings have,
             for the most part, consisted of pain-related limitation of motion and alleged
             sensory deficits.

Id. at 20.   The plaintiff takes issue with what he characterizes as the administrative law judge’s

interpretation of an MRI as showing “mild” spinal pathology, asserting that he was not medically

qualified to do so and contending that the report of Joel Ira Franck, M.D., was inconsistent with this

finding. Statement of Errors at 4-5. However, the MRI to which the administrative law judge

referred, Record at 18-19, was interpreted by a radiologist as showing “some mild early degenerative

joint disease at L4-5 and at L5-S1 with some mild bulging,” id. at 294. The administrative law judge

merely relied on the opinion of a qualified medical professional; he did not interpret the MRI himself.

 In addition, the administrative law judge said only that “radiological studies have not yielded

evidence of more than mild spinal pathology,” id. at 20, and the statement of Dr. Franck quoted by the

plaintiff in his Statement of Errors at 5 — “the patient would clearly benefit from a lumbar fusion at

L4-5 and L5-S1 using the Stealth System” — does not necessarily contradict the administrative law

judge’s observation about radiological studies.

       Assuming arguendo that, as the plaintiff asserts, “[t]he opinions of the treating physicians Drs.

Guernelli and Cloutier, along with the examining Disability Determination physician, Dr. Tremblay,

are all consistent,” Statement of Errors at 5, but compare Record at 501-04 (Tremblay) with id. at

428-30 (Cloutier) & 431-33 (Guernelli), SSR 96-2p does not require that Dr. Guernelli’s opinions be

given controlling weight unless they are well-supported by clinical and laboratory diagnostic

techniques and are not inconsistent with other substantial evidence in the record. The plaintiff casts

the “few references” in the medical record cited by the administrative law judge “that would appear to

minimize [his] back condition” as “not paint[ing] an accurate picture of [his] medical condition.”

Statement of Errors at 6. However, if such references constitute substantial evidence in the record,



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they are clearly inconsistent with Dr. Guernelli’s conclusions and accordingly strip those conclusions

of any entitlement to controlling weight. The administrative law judge’s opinion discusses medical

evidence that is inconsistent with Dr. Guernelli’s conclusions at pages 16-17 and 18-20 of the record.

These are references to substantial evidence in the record. The administrative law judge also points

out ways in which Dr. Guernelli’s findings are not supported by his own records and inconsistencies

between and omissions from the two residual functional capacity assessment forms filled out by Dr.

Guernelli. Record at 19. Neither the opinions of Dr. Guernelli nor those of Dr. Cloutier and Dr.

Tremblay that may fairly be characterized as being not inconsistent with those of Dr. Guernelli are

entitled to controlling weight under SSR 96-2p.3

          As his third and final issue, the plaintiff asserts that he cannot perform the three jobs that the

administrative law judge found to be available to him because they are classified at the light exertional

level and “[t]he Residual Functional Capacity opinions of both Drs. Guernelli and Tremblay preclude

all light-duty work.” Statement of Errors at 7. I have already discussed the reasons why Dr.

Guernelli’s opinions are not entitled to controlling weight. Dr. Tremblay is not a treating physician

and his opinions therefore cannot be given controlling weight. The administrative law judge was

entitled to rely, as he did, on inconsistent medical evidence, like the report of nurse practitioner

Winslow, Record at 20, 518-19, and the residual functional capacity assessments completed by the

state-agency reviewers, id. at 355-59, 377-78, 395-402.4 The plaintiff has not demonstrated that the


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  At the very end of the section of his statement of errors that deals with the weight to be given to Dr. Guernelli’s opinions, or those of
Dr. Cloutier, a treating physician, and Dr. Tremblay, who was not a treating physician. the plaintiff asserts that “[p]ursuant to Social
Security Rulings 96-2p and 96-5p, these opinions should have been given controlling weight.” Statement of Errors at 6. This is the
first and only reference to SSR 96-5p in the statement of errors. That ruling merely explains that the opinions of treating medical
sources on issues reserved to the commissioner are never entitled to controlling weight or special significance but must be addressed by
the administrative law judge. Social Security Ruling 96-5p, reprinted in West’s Social Security Reporting Service Rulings (Supp.
2004) at 122. In the absence of more developed argumentation based on SSR 96-5p in the plaintiff’s statement of errors, this court
will not consider SSR 96-5p further. At oral argument, counsel for the plaintiff conceded that it was error to argue that Dr. Tremblay’s
opinions were entitled to controlling weight.
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  Even though all of these assessments are dated before the report of Dr. Tremblay and those of Dr. Guernelli, it is important to note
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physical requirements of the three jobs are inconsistent with all of the residual functional capacity

assessments that appear in the record. There is substantial support in the record for the administrative

law judge’s findings with respect to the availability of the three jobs.

                                                            Conclusion

          For the foregoing reasons, I recommend that the commissioner’s decision be AFFIRMED.



                                                              NOTICE

        A party may file objections to those specified portions of a magistrate judge’s report or
proposed findings or recommended decisions entered pursuant to 28 U.S.C. § 636(b)(1)(B) for
which de novo review by the district court is sought, together with a supporting memorandum,
within ten (10) days after being served with a copy thereof. A responsive memorandum shall be
filed within ten (10) days after the filing of the objection.

        Failure to file a timely objection shall constitute a waiver of the right to de novo review by
the district court and to appeal the district court’s order.

          Dated this 6th day of December, 2006.

                                                                          /s/ David M. Cohen
                                                                          David M. Cohen
                                                                          United States Magistrate Judge




that the plaintiff was eligible for the benefits he seeks only if he was disabled within the meaning of the Social Security Act before his
date last insured of December 31, 2003. Dr. Tremblay’s report is dated December 7, 2004, Record at 497, and does not mention the
date last insured.



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